     Case 1:22-cv-03278-RC-ZMF       Document 1   Filed 10/26/22   Page 1 of 36




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

PETRUSS MEDIA GROUP, LLC, f/k/a
TAKE 5 MEDIA GROUP, LLC,
2385 N.W. Executive Center Drive, Suite 290
Boca Raton, FL 33431

ALEXANDER RADETICH,                               Case No. 1:22-cv-3278
2121 N.W. 30th Road
Boca Raton, FL 33431

RICHARD GLUCK,
484 E. Royal Palm Road
Boca Raton, FL 33432

RJV MARKETING CORP.,
10205 Collins Avenue, Suite 809
Bal Harbour, FL 33154

             Petitioners,
v.

ADVANTAGE SALES & MARKETING
LLC, 15310 Barranca Parkway, Suite 100
Irvine, CA 92618

ADVANTAGE SALES & MARKETING
INC., 15310 Barranca Parkway, Suite 100
Irvine, CA 92618

KARMAN INTERMEDIATE CORP.,
18100 Von Karman Avenue, Suite 1000,
Irvine, CA 92612

ADVANTAGE SOLUTIONS INC.,
18100 Von Karman Avenue, Suite 1000,
Irvine, CA 92612

KARMAN TOPCO L.P.,
18100 Von Karman Avenue, Suite 1000,
Irvine, CA 92612

             Respondents.
     Case 1:22-cv-03278-RC-ZMF             Document 1        Filed 10/26/22      Page 2 of 36




          PETITION TO VACATE OR SET ASIDE ARBITRATION AWARDS 1

       Petitioners Petruss Media Group LLC, f/k/a Take 5 Media Group, LLC, Alexander

Radetich, Richard Gluck, and RJV Marketing Corp. (collectively the “Take 5 Parties” or

“Petitioners”) hereby petition the Court, pursuant to the Federal Arbitration Act (9 U.S.C. §§ 6,

10, 12), for an Order vacating or setting aside the Interim Award entered August 4, 2022, and the

Final Award entered initially on October 4, 2022 and in a modified version on October 20, 2022,

(collectively the “Awards”) in the underlying arbitration (AAA No. 01-19-002-7532) between

Petitioners and Advantage Sales & Marketing LLC, Advantage Sales & Marketing Inc., Karman

Intermediate Corp., Advantage Solutions Inc., and Karman Topco L.P. (collectively the

“Advantage Parties” or “Respondents”), and as grounds therefore alleges as follows:


                                        INTRODUCTION

       The Awards concern the systematic destruction by the Advantage Parties of a successful

business built through the expertise and hard work of two individuals, Petitioners Alexander

Radetich and Richard Gluck. Over the course of the last three years, the Advantage Parties have

not just destroyed what it took Radetich and Gluck nearly twenty years to build, but they

systematically attacked and sought to destroy Radetich’s and Gluck’s reputations in the process

and to ruin their lives and those of their families. Among other things, the Advantage Parties have

sought to hold RJV Marketing Corp., which is owned 100% by Gluck’s father (80 year-old Jack

Gluck) wholly responsible for the alleged “fraud” that served as the excuse to allow the Advantage

Parties to terminate part of Radetich’s and Gluck’s business, take the parts of that business that the


1
        Portions of this Petition have been redacted pursuant to paragraph 13 of the parties’
Stipulated Order Governing the Production and Exchange of Confidential and Highly Confidential
Information, executed in the underlying arbitration on July 3, 2020. The Take 5 Parties will file
this document under seal but are prepared to unseal all documents and unredact all portions herein
upon the agreement of the Advantage Parties.


                                             2
     Case 1:22-cv-03278-RC-ZMF              Document 1        Filed 10/26/22      Page 3 of 36




Advantage Parties believed were most lucrative and, in the process, seek to salvage the Advantage

Parties’ reputations and recoup the financial losses caused by their own mismanagement of the

once successful Take 5 business. The Advantage Parties did so through procedurally improper

means, and it is not surprising that the resulting Awards therefore are sufficiently flawed such that

they must be vacated.


       As set forth further in the Petitioners’ Motion to Vacate or Set Aside the Arbitration

Awards and accompanying Memorandum of Points of Law and Authorities, the Awards should be

vacated because the (1) sole arbitrator is guilty of misconduct for failing to stay the arbitration and

postpone the hearing in light of a pending, parallel criminal investigation resulting in significant

prejudice to the Take 5 Parties such that they were denied a fair hearing, (2) the arbitrator is guilty

of misconduct for refusing to hear pertinent evidence, due to the Advantage Parties spoliation of

material evidence, (3) the arbitrator exceeded or imperfectly executed his powers by entering the

Awards against RJV Marketing Corp. absent any evidence in the record to support the

determination, (4) the arbitrator exceeded his powers with respect to awarding certain damages

due to absence of evidence in the record to support such award (5) the Awards were procured by

fraud, corruption or undue means by virtue of the inducement by the Advantage Parties’ of witness

testimony, and (6) the arbitrator manifestly disregarded the law in a number of other ways.


                                          THE PARTIES

I.     PETITIONERS

       1.      Petitioner Petruss Media Group, LLC, f/k/a Take 5 Media Group, LLC (“Take 5”)

is a Florida limited liability company, with its principal place of business in Boca Raton, Florida.




                                             3
      Case 1:22-cv-03278-RC-ZMF           Document 1       Filed 10/26/22      Page 4 of 36




       2.      Petitioner Alexander Radetich is an individual residing in Boca Raton, Florida and

was the Managing Partner of Take 5. Radetich is a Beneficial Owner under the Asset Purchase

Agreement and held a 44.45% membership in Take 5.


       3.      Petitioner Richard Gluck is an individual residing in Boca Raton, Florida and was

the Managing Partner of Take 5. Radetich is a Beneficial Owner under the Asset Purchase

Agreement and held a 44.45% membership in Take 5.


       4.      Petitioner RJV Marketing Corp. (“RJV”), is a Florida corporation, with its principal

place of business in Bal Harbour Village, Florida and was a member of Take 5. RJV is a Beneficial

Owner under the Asset Purchase Agreement and held a 11.10% membership in Take 5.


II.    RESPONDENTS

       5.      Respondent Advantage Sales & Marketing LLC (“ASM”) is a California limited

liability company, with its principal place of business in Irvine, California. ASM is the Buyer

under the Asset Purchase Agreement.


       6.      Respondent Advantage Sales & Marketing Inc. (“ASM Inc.”) is the parent entity of

ASM, and is a Delaware corporation with its principal place of business in Irvine, California.


       7.      Respondent Karman Intermediate Corp. (“KIC”) is the parent entity of ASM Inc.,

and is a Delaware corporation with its principal place of business in Irvine, California. ASM is an

indirect, wholly-owned subsidiary of KIC.


       8.      Respondent Advantage Solutions Inc. (“Advantage Solutions”) is the parent entity

of KIC, and is a Delaware corporation with its principal place business in Irvine, California.




                                            4
     Case 1:22-cv-03278-RC-ZMF             Document 1       Filed 10/26/22      Page 5 of 36




       9.      Respondent Karman Topco L.P. is the parent entity of Advantage Solutions, and is

a Delaware limited partnership with its principal place of business in Irvine, California.


       10.     Petitioners and Respondents were parties to an arbitration administered by the

American Arbitration Association captioned In the Matter of the Arbitration 01-19-002-7532,

Petruss Media Group, LLC, et al. v. Advantage Sales & Marketing, LLC, et al. (“the Arbitration”).

See Declaration of Lauren H. Evans in Support of Petition to Vacate or Set Aside Arbitration

Awards at ¶¶ 1-3, Exs. 1-3 [Interim Award (Aug. 4, 2022); Final Award (Oct. 4, 2022); Modified

Final Award (Oct. 20, 2022)]. 2      The issues in the Arbitration were the Parties’ respective

performance under an Asset Purchase Agreement (the “APA”) executed in March 2018, the

dissolution of the relationship between the Parties, the Advantage Parties’ decision to shut down

the Take 5 business, and allegations of breach of contract, fraud, and defamation, among other

things. Ex. 4 at 5, 16 [Take 5 Parties’ Amended Statement of Claim (Nov. 19, 2020)]; Ex. 5 [Exhibit

A to Take 5 Parties’ Statement of Claim, Asset Purchase Agreement (Mar. 15, 2018)]. In the

Arbitration, the Advantage Parties argued that the Take 5 Parties made certain misrepresentations

about Take 5’s business prior to the acquisition, upon which the Advantage Parties purportedly

relied in entering the APA, which they contended amounted to a fraudulent scheme and breach of

contract. Ex. 6 [Respondent and Counter-Claimant/Cross-Claimant Advantage Sales & Marketing

LLC’s Response to Arbitration Demand and Second Amended Counter-Demand and Cross-

Demand at ¶ 35 (Nov. 16, 2020)]. The Take 5 Parties argued that the Advantage Parties’

termination of the Take 5 business unit was made in a bad faith effort to avoid making additional




2
       Exhibit references herein refer to the exhibits to the Declaration of Lauren H. Evans in
Support of Take 5 Parties’ Petition to Vacate or Set Aside Arbitration Awards filed concurrently
herewith. Note that Exhibit 7 is intentionally omitted.


                                            5
     Case 1:22-cv-03278-RC-ZMF            Document 1        Filed 10/26/22      Page 6 of 36




payments, constituting a breach of the APA, and the resulting allegations of fraud amounted to

defamation.


                                JURISDICTION AND VENUE

       11.     The Federal Arbitration Act governs this action because the Agreement involves

“commerce among the several States” as defined in 9 U.S.C. § 1. 3


       12.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332, because Petitioners and Respondents are citizens of different states, Florida, Delaware and

California, respectively, and the amount in controversy herein exceeds $75,000.00, exclusive of

interest, attorneys’ fees and costs because the Modified Final Award awards Respondents

$48,325,822.29 in damages and the purchase price contemplated by the APA was $77,000,000.00.


       13.     Venue is proper under 9 U.S.C. §§ 9 and 10, as well as §28 U.S.C. 1391, because

the APA provided that “judgment upon the award rendered by the Arbitrator may be entered in

any court having jurisdiction thereof” and this is the district in which the award was made. 4


                                     THE TRANSACTION

       14.     Petitioners Alexander Radetich and Richard Gluck founded Take 5 in 2003. Take

5 was a direct mail and digital consumer marketing and licensing business. Ex. 4 at 2, 11.


       15.     Take 5’s most valuable asset was a massive database it built and maintained, which

contained demographic, lifestyle, and contact information for hundreds of millions of consumers.

Over the span of fifteen years, Take 5 developed one of the most unique and sought-after consumer




3
       See infra ¶ 37.
4
       See infra ¶ 103.


                                            6
      Case 1:22-cv-03278-RC-ZMF           Document 1       Filed 10/26/22      Page 7 of 36




databases in the country. Take 5 commercialized this database by providing clients either data

licensing or marketing campaigns. Take 5’s data licensing business delivered bulk data to clients,

which included large national database compilers, insurance companies, credit bureaus, and

automotive marketing agencies, pursuant to multi-year license agreements.          Take 5’s other

business line was its “omni-channel” digital marketing business, which provided highly targeted

and personalized marketing campaigns for clients. Take 5’s “omni-channel” offerings included

social media, mobile device advertising, email marketing, programmatic and display advertising,

PPC (pay per click) advertising, targeted advertising in web browsers, and direct mail. Id. at 12.


       16.     In 2017, Take 5 hired an investment banking firm, Petsky Prunier, to market the

business for sale and to seek prospective buyers. Take 5 received offers from approximately

seventeen buyers, including ASM. On August 11, 2017, the Take 5 Parties and ASM signed a

Nondisclosure Agreement and on December 18, 2017, ASM signed a letter of intent. Id. at 2, 14-

16.


       17.     ASM conducted formal and comprehensive due diligence of Take 5 for a period of

eight months, from December 2017 through March 2018, retaining Ernst & Young for financial

diligence and Jones Day for legal diligence. ASM also hired Parthenon Group, an Ernst & Young

owned consulting business, to conduct confidential interviews of Take 5 clients before closing to

assess the strength of the relationships and level of satisfaction. Take 5 additionally engaged

national independent accounting firm, Cherry Bekaert, at the request of ASM to prepare an audited

Combined Financial Statement for the year ending December 31, 2017, which was delivered

directly to ASM. Id. at 16-19.




                                           7
      Case 1:22-cv-03278-RC-ZMF             Document 1         Filed 10/26/22       Page 8 of 36




       18.     On March 15, 2018, ASM entered into the APA with the Take 5 Parties, in which

ASM agreed to pay a base purchase price of $77,000,0000, as well as an earn-out of up to

$53,000,0000 for Radetich and Gluck, in consideration for purchase of the assets and liabilities of

Take 5. Id. at 19; Ex. 5.


       19.     The sale of Take 5’s assets closed on April 1, 2018 and ASM acquired all of Take

5’s assets including the database of email addresses. As a result of the transaction, Take 5 became

a business unit of ASM. Ex. 4 at 21; Ex. 5 at § 1.5(j).


       20.     The dispute resolution provision of the APA appears at Section 10.11. It states:

       (a) If the Parties should have a dispute (a “Dispute”) involving money damages
       arising out of or relating to this Agreement or any Ancillary Agreement, or the
       Parties’ respective rights and duties hereunder or thereunder . . . then the Parties
       will resolve such Dispute in the following manner: . . . (iii) . . . the Parties will refer
       the Dispute (to the exclusion of a court of law) to a final and binding arbitration in
       accordance with the procedures set forth in Section 10.11(b).

Ex. 5 at § 10.11.

       21.     Section 10.11(b) provides:

       Any arbitration pursuant to this agreement shall be presided over by one arbitrator
       in Delaware, in accordance with the then existing commercial arbitration rules (the
       “Rules”) of the American Arbitration Association (“AAA”), and the judgment upon
       the award rendered by the Arbitrator may be entered in any court having jurisdiction
       thereof; provided, however, that the Law applicable to any controversy shall be the
       Law of the State of Delaware regardless of principles of conflicts of Laws. . . . Upon
       completion of the selection of the Arbitrator, an award or decision shall be rendered
       within no more than 60 days after the date of such selection. The award or decision
       will be a reasoned award or decision setting forth the Arbitrator’s reasoning in
       reaching its determinations. The expenses of any litigation, including the Arbitrator
       and the arbitration and the reasonable out-of-pocket fees and expenses of the other
       Party, including fees of attorneys and experts, shall be paid by the non-prevailing
       Party as determined by the Arbitrator, except as provided in Section 1.3(a)(iv) and
       Section 1.5(c).

Id.




                                              8
     Case 1:22-cv-03278-RC-ZMF              Document 1       Filed 10/26/22      Page 9 of 36




                                THE UNDERLYING DISPUTE


       22.     Immediately after the transaction closed, ASM designated its employee Gary Colen

the Chief Executive Officer of the Take 5 business unit, sidelining Radetich and Gluck, who had

built the company from scratch and lead it since its first days in existence. Ex. 4 at 5-6, 21-25.


       23.     In late 2018 and early 2019, ASM transferred business developed by Take 5 to other

ASM business units and significantly cut the commissions of Take 5 sales personnel. As a result,

the financial performance of the Take 5 business began to suffer. Id.


       24.     The Advantage Parties claim that on or about April 11, 2019, they received two

“anonymous” complaints from Take 5 employees alleging that Take 5’s clients were not receiving

the email marketing services they were paying for and this purported deception was being

accomplished through the use of fake marketing campaign documentation. Ex. 6 at ¶ 35.


       25.     On or about April 16, 2019, the Advantage Parties asked Radetich and Gluck to

accept an early exit from the business. ASM proposed that in exchange for $770,000 and a release

of the earn-out, ASM would release Radetich and Gluck from their indemnity obligations under

the APA. Radetich and Gluck rejected the offer, unwilling to walk away from up to $53 million

in unpaid purchase price. Ex. 4 at 7, 25.


       26.     On May 28, 2019, the Advantage Parties engaged FTI Consulting to conduct an

operational audit of Take 5 in connection with the “anonymous” complaints. The audit was

proposed to include four different phases, as well as the review of documents and electronic

information. At the recommendation of FTI, the matter was reported to the Audit Committee of




                                             9
      Case 1:22-cv-03278-RC-ZMF           Document 1       Filed 10/26/22     Page 10 of 36




Karman Topco L.P., which engaged Latham & Watkins as counsel on June 27, 2019. Ex. 6 at ¶

36.


        27.      During the course of their forty-four day investigation, FTI and Latham conducted

interviews of twenty-seven ASM and Take 5 employees. On July 2, 2019, FTI interviewed

Alexander Radetich. Id. at ¶¶ 39, 50.


        28.      On July 7, 2019, during only phase two of the investigation and before FTI had

completed its work, the Advantage Parties decided to immediately and permanently shut down the

Take 5 business unit. On July 11, 2019, ASM called an all-hands meeting and laid off almost all

employees in the Take 5 business unit effectively shutting it down. Ex. 4 at ¶¶ 73-74


        29.      The Advantage Parties informed employees and customers that Take 5 had engaged

in fraud and alleged that the Take 5 business was a fraudulent front operated by Radetich and

Gluck, which had no useable data and ran no real marketing campaigns. Id. at ¶ 76. The

Advantage Parties additionally made an unsolicited offer to Take 5’s clients of refunds or credits

for other ASM services. Id.


        30.      Advantage additionally contacted the FBI and United States Attorney’s Office to

report the alleged fraud by Take 5 and urged them to investigate. Ex. 6 at 5, 27.


                             THE UNDERLYING ARBITRATION

        31.      Six days after ASM took the unprecedented step of shutting down Take 5’s

business, on July 17, 2019, Take 5, Radetich, and Gluck sent a Notice of Dispute to the Advantage

Parties, triggering the 30-day period to meet and negotiate pursuant to Section 10.11 of the APA.

Ex. 4 at ¶ 79.




                                            10
    Case 1:22-cv-03278-RC-ZMF              Document 1     Filed 10/26/22      Page 11 of 36




          32.   Counsel for ASM responded by stating the notice of the dispute was premature and

levelled false allegations that Radetich and Gluck created and directed a scheme to defraud the

Advantage Parties and its clients. Id. at ¶ 80.


          33.   On August 20, 2019, the Advantage Parties sent a Notice of Claim and Notice of

Dispute pursuant to pursuant to Sections 8.4(b) and 10.11 of the APA alleging that Radetich and

Gluck had falsely represented to clients that marketing emails had been deployed, delivered, and

opened when emails were never sent and that Take 5 allegedly employed an algorithm that

generated fictitious data to meet client expectations while engaging third-party vendors to

deceptively generate traffic to clients’ websites. The Parties met and conferred but were unable to

resolve their dispute. Ex. 8 [Advantage Parties’ Notice of Claim and Notice of Dispute (Aug. 20,

2019)].


          34.   On September 3, 2019, Take 5 filed a Demand for Arbitration and Statement of

Claim bringing claims for breach of contract and breach of the implied covenant of good faith and

fair dealing and seeking an award for amounts due and unpaid pursuant to the APA. The Demand

alleged that Advantage breached the APA by shutting down the Take 5 business unit and engaging

in a course of conduct to circumvent the payment of the earn-out. Ex. 9 [Demand for Arbitration

and Statement of Claim (Sept. 3, 2019)].


          35.   On September 19, 2019, the Advantage Parties filed counterclaims and crossclaims,

bringing claims for indemnification, breach of contract, fraud in the inducement, fraud, RICO, and

breach of the implied covenant of good faith and fair dealing. Ex. 10 [Respondent and Counter-

Claimant/Cross-Claimant Advantage Sales & Marketing LLC’s Response to Arbitration Demand




                                            11
    Case 1:22-cv-03278-RC-ZMF             Document 1        Filed 10/26/22      Page 12 of 36




and Counter-Demand and Cross-Demand for Indemnification, Breach of Contract and Fraud

(Sept. 19, 2019)].


       36.     The Take 5 Parties filed an Amended Statement of Claim on November 19, 2020,

which was the operative demand at the time of the Arbitration hearing, bringing claims for breach

of contract, breach of the implied covenant of good faith and fair dealing, defamation per se, and

negligence. Ex. 4. The Take 5 Parties alleged that the Advantage Parties shutdown the Take 5

business unit as a part of strategy developed to increase its IPO capitalization and to avoid payment

of the earn-out pursuant to the APA. Id. The Take 5 Parties further alleged that the Advantage

Parties materially damaged the reputations of Radetich and Gluck. Id. The negligence claim was

later dismissed.


       37.     The Advantage Parties filed their Second Amended Counter-Demand and Cross-

Demand on November 16, 2020, bringing claims for indemnification, breach of contract, fraud in

the inducement, fraud, RICO, and breach of the implied covenant of good faith and fair dealing.

Ex. 6. This Second Amended Counter-Demand was the Advantage Parties’ operative demand at

the time of the Arbitration hearing. The Advantage Parties maintained that the Take 5 business

was based on a fraudulent scheme created and maintained by Radetich and Gluck in which they

promised clients that Take 5 had the ability to send a large volume of targeted emails to people

within a certain demographic, track responses, and generate high quality customer traffic for the

client’s websites, but could not and did not actually send such emails. Id. The Advantage Parties’

further alleged that Radetich and Gluck developed a computer program that would fictitiously

calculate numbers to be reported to client concerning how many emails had been sent, delivered

and opened. Id.




                                            12
    Case 1:22-cv-03278-RC-ZMF             Document 1       Filed 10/26/22      Page 13 of 36




          38.   The Arbitrator determined during the course of the proceeding that the Arbitration

was governed by the Federal Arbitration Act (“FAA”) because the dispute involved interstate

commerce. Ex. 11 at 3 [Order Ruling on Advangage’s [sic] Motion to Dismiss Cetain [sic] Counts

in Take 5’s Amended Statement of Claim (Jan. 20, 2021)].


          39.   The Arbitration was administered by the American Arbitration Association

(“AAA”) and discovery was governed by the Federal Rules of Procedure. Ex. 12 [Report of

Preliminary Hearings and Scheduling Order (Jul. 19, 2020)].


          40.   Each party filed motions for summary disposition on November 17, 2021,

responses on December 7, 2021, and replies on December 15, 2021. Exs. 13-18.

          41.   Shortly before the hearing, the Arbitrator denied the cross motions for summary

disposition. Ex. 19 at 1 [Order Denying Cross Motions for Summary Disposition . . . (Dec. 29,

2021)].

                                 Parallel Criminal Investigation

          42.   The Advantage Parties’ demands indicated that the Advantage Parties had reported

Radetich and Gluck to federal authorities. The Advantage Parties’ Second Amended Counter-

Demand stated that “Advantage voluntarily reported [the results of their internal investigation into

Take 5] to the FBI and United States Attorney’s Office” and had “already spent and continues to

spend considerable sums on attorney and advisor fees related to determining the full extent of the

fraud, and cooperating with government law enforcement agencies.” Ex. 6 at ¶ 55.


          43.   On April 19, 2021, an FBI agent visited Radetich’s home. Ex. 20 at 4 & n.2

[Emergency Motion and Memorandum of Law of Take 5 Parties’ in Support of Emergency Motion

for Stay of Arbitration Action (Jun. 23, 2021)]. During that visit, the FBI agent stated that Take 5




                                            13
    Case 1:22-cv-03278-RC-ZMF             Document 1     Filed 10/26/22     Page 14 of 36




and Radetich were under criminal investigation, handed Radetich a business card, and requested

that Radetich “be in touch.” Id. at 4.


       44.     Following the encounter, Radetich hired criminal defense counsel, Miles Ehrlich,

who was subsequently contacted by Assistant United States Attorney for the Central District of

California, Jennifer Waier, on April 20, 2019. Id.


       45.     Based on subsequent conversations between prosecutors, FBI agents, and

Radetich’s criminal counsel, it became clear that that Radetich and Take 5 were targets of a

criminal investigation instigated by the Advantage Parties and that “indictment may soon issue.”

Id. The criminal investigation overlapped entirely with the Advantage Parties’ claims in the

Arbitration.


       46.     Counsel for the Advantage Parties, Wayne R. Gross, previously served as a

supervisor in the United States Attorney’s Office for the Central District of California and was

previously the manager of the individuals who have been conducting the investigation and whom

he told about Take 5’s alleged acts.


       47.     On June 8, 2021, counsel for the Take 5 Parties deposed Gary Colen, an Advantage

employee and former CEO of the Take 5 business unit following purchase of the Take 5 business

by the Advantage Parties.              Redacted Pursuant to Stipulated Order




Ex. 21 at 327:9-329:9 [Colen Depo. Tr. (Jun. 9, 2021].




                                            14
    Case 1:22-cv-03278-RC-ZMF           Document 1       Filed 10/26/22     Page 15 of 36




       48.                      Redacted Pursuant to Stipulated Order
                             Id. at 329:10-330:2. Redacted Pursuant to Stipulated Order




      Id. at 329:10-330:7.


       49.    As a result of this information Redacted Pursuant to Stipulated Order , Gluck

retained criminal defense counsel, Edward Swanson. Ex. 20 at 5.


       50.    Due to the allegations concerning reports to law enforcement in the Advantage

Parties’ counter-demands, the Take 5 Parties included a document request in their first requests

for production of documents seeking “Document Request No. 105: [a]ll communications from

Respondents to the FBI, Department of Justice (including any U.S. Attorney’s Office) or any other

state or federal agency regarding the Seller group [a/k/a the Take 5 Parties].” Ex. 22 at 96

[Advantage Parties’ Response to Take 5’s First Request for Production of Documents and

Information (Jun. 12, 2020)].


       51.    The Advantage Parties objected to this request over seven months later on the basis

that the information was subject to governmental privilege. Id. Despite numerous meet and

confers, substantial motion practice, and several discovery orders ordering the Advantage Parties

to produce responsive documents, the Advantage Parties did not produce any documents

responsive to Request Number 105, let alone any documents evidencing an actual criminal

investigation prior to April 2021 or at any time thereafter. See Ex. 23 at 9-11 [Take 5 Parties’

Motion to Compel (Aug. 14, 2020)].




                                          15
    Case 1:22-cv-03278-RC-ZMF            Document 1       Filed 10/26/22     Page 16 of 36




       52.     As a result of the new information concerning the active criminal investigation and

the scheduled depositions of Gluck and Radetich on June 30, 2021 and July 1, 2021, respectively,

the Take 5 Parties filed an Emergency Motion for Stay of Arbitration Action on June 23, 2021,

seeking to stay the arbitration proceeding for six months or until the criminal investigation was

concluded, whichever was earlier. Ex. 20.


       53.     The Take 5 Parties argued that given the ongoing criminal investigation,

particularly the recent travel by government agents stationed in California to Radetich’s home in

Florida and the undercover conversations of which they had learned less than two weeks prior,

both Radetich and Gluck would have no choice but to invoke their Fifth Amendment rights at their

depositions and in response to other discovery, chilling their ability to testify and offer key

evidence in the proceeding. Id.


       54.     The Take 5 Parties further argued that the issues in the criminal and civil

proceedings not only overlapped, but were identical and that Radetich and Gluck would be

“severely prejudiced” by denial of a stay because they would be forced to choose between

defending themselves in the Arbitration and waiving their Fifth Amendment rights or asserting the

Fifth, undermining their ability to defend themselves as the purported masterminds of a multi-year

fraudulent scheme. Id. at 7-11. Additionally, they argued that the Advantage Parties should not

be able to “’have their cake and eat it too’ – by pushing the Take 5 Parties into a corner in a

situation of their own making” by virtue of the Advantage Parties having urged the authorities to

commence an investigation and working to feed them information. Id. at 12.


       55.     The Advantage Parties responded on June 28, 2021 arguing that Radetich and

Gluck would not be prejudiced because the Arbitrator could not draw an adverse inference from



                                            16
    Case 1:22-cv-03278-RC-ZMF             Document 1        Filed 10/26/22      Page 17 of 36




their invocation of the Fifth Amendment and that the Advantage Parties would be the ones

“severely and unfairly prejudice[d]” by the granting of a stay because memories would fade and it

would give Radetich and Gluck an opportunity “to conceal their assets or even to leave the

jurisdiction.”   Ex. 24 [Opposition of Advantage Parties to Emergency Motion for Stay of

Arbitration Action (Jun. 28, 2021)].


       56.       The Advantage Parties had previously acknowledged the significant overlap

between the criminal investigation and the Arbitration arguing in an earlier unrelated opposition

brief “Advantage and the USAO share a common interest in that each is litigating, or potentially

litigating, the Take 5 Parties as a result of their fraudulent scheme.” Ex. 25 at 12 [Advantage

Response to Motion to Compel (Aug. 24, 2020)].


       57.       The Take 5 Parties replied on June 29, 2021, arguing that though the Advantage

Parties had stated they complained to law enforcement, the fact that an actual criminal

investigation had been initiated did not become known (or knowable) until April 2021. Ex. 26 at

3 [Reply by Take 5 Parties in Support of Emergency Motion for Stay of Arbitration Action (Jun.

29, 2021)]. The Take 5 Parties also pointed out the Advantage Parties’ contradictory position that

the motion to stay was both too late because ASM has stated it reported the purported fraud to

government officials prior to the commencement of the Arbitration and some discovery had taken

place and too early because indictments had not yet been issued. Id.


       58.       On June 29, 2021, after a hearing, the Arbitrator denied the Take 5 Parties’

Emergency Motion for Stay. The Arbitrator acknowledged that the “issues in the criminal

investigation track or substantially overlap” the issues in the Arbitration but ultimately denied the

stay because he believed the Take 5 Parties were aware of the investigation as of the date of the



                                            17
    Case 1:22-cv-03278-RC-ZMF             Document 1        Filed 10/26/22      Page 18 of 36




Advantage Parties’ Counter-Claim on September 19, 2019, that it would be “speculative” to

conclude the Take 5 Parties would be prejudiced by Radetich and Gluck invoking the Fifth

Amendment. The Arbitrator further reasoned that he could not draw adverse inferences from the

invocation of the Fifth Amendment under Delaware law and the stay was sought prematurely

because it was prior to indictment. Ex. 27 at 3-4 [Order Denying Take 5’s Motion to Stay (Jun.

29, 2021)].


       59.     On July 1, 2021, Alexander Radetich was deposed. At the advice of his criminal

defense counsel (as reflected in the deposition transcript), he invoked his Fifth Amendment rights

in response to every question aside from his name, location, and employment in order to protect

his rights in the parallel criminal investigation. See Ex. 28 at 12:9-20 [Radetich Depo. Tr. (Jul. 1,

2021)] (“[T]he claimants, all of them, made a motion to stay this arbitration in light of a – in light

of a potential criminal indictment that’s looming. As a result . . . Mr. Radetich will be taking the

Fifth Amendment. It’s necessary for him to do so in connection with overwhelming majority of

issues that are going to be raised.”).


       60.     On July 8, 2021, Richard Gluck did the same at his deposition, invoking his Fifth

Amendment rights due to the parallel criminal proceeding and the Arbitrator’s failure to stay the

proceeding. Ex. 29 at 15:2-16:1 [Gluck Depo. Tr. (Jul. 8, 2021)] (“[G]iven that we’re going

forward today in the absence of a stay, in the absence of a continuance, we will need to be asserting

the Fifth Amendment.”).


       61.                     Redacted Pursuant to Stipulated Order




                                             18
    Case 1:22-cv-03278-RC-ZMF             Document 1        Filed 10/26/22       Page 19 of 36




                      Redacted Pursuant to Stipulated Order




                                        Discovery Disputes

       62.     On November 1, 2019, Take 5 served its first Request for Documents and

Information wherein they requested, among other things, all documents referring to or relating to

the Latham and FTI interviews conducted in July 2019, including a specific request for documents

concerning the July 2, 2019 interview of Radetich.


       63.     Take 5 specifically requested:

       Document Request No. 52: All documents that refer or relate to any of the 27
       Advantage and Take 5 employee interviews Latham and FTI conducted as set forth
       in paragraph 39 of the Advantage Response, or any other interviews Latham and
       FTI conducted in connection with their respective investigations as set forth in
       paragraphs 36-48 of the Advantage Response, including but not limited to any
       documents that are audio or video recordings of such interviews, written statements,
       affidavits or notes.

       Document Request No. 55: All documents that refer or relate to the July 2nd
       interview as set forth in paragraph 43 of the Advantage Response, including all
       audio files, transcripts, and notes.

Ex. 22 at 52, 54.

       64.     The Take 5 Parties’ additionally sought documents concerning the Advantage

Parties’ disclosure of information to the government in connection with a potential criminal

investigation (see supra ¶ 50) and payments or transfers of value by the Advantage Parties to

witnesses:

       Document Request No. 8: For the period April 1, 2019 to the date of the hearing,
       all documents that refer or relate to a transfer of anything of value to, the release of



                                            19
     Case 1:22-cv-03278-RC-ZMF            Document 1       Filed 10/26/22      Page 20 of 36




        any claim against, of the assumption of any obligation of a current or former Take
        5 employee or witness in this Arbitration proceeding, or any entity affiliated with
        such person, or a promise, contingent or otherwise, to make such a transfer, release
        such a claim or assume such an obligation in the future.

Id. at 15.

        65.     Seven months later, the Advantage Parties objected to production of these

documents on the basis of privilege, work product protection, and governmental privilege, among

other things. Id. at 15, 52, 54. However, with respect to Request No. 8, the Advantage Parties

stated they would “produce any responsive, non-privileged documents found during a reasonable

review of the documents from the files of Respondent custodians.” Id. at 15.


        66.     On August 4, 2020, the Take 5 Parties served their Second Request for Documents.

At least two of the requests specifically sought documents and information concerning damages:

        Document Request No. 129: A copy---or description by category and location---of
        all documents, ESI, and tangible things that any of the Advantage Parties has in its
        possession, custody, or control and may use to support its claims or defenses, unless
        the use would be solely for impeachment.

        Document Request No. 130: A computation of each category of damages claimed
        by any of the Advantage Parties and the documents or other evidentiary material,
        unless privileged or protected from disclosure on which each computation is based,
        including materials bearing on the nature and extent of injuries suffered.

Ex. 31 at 12-14 [Advantage Parties’ Responses to Take 5’s Second Request for Production of

Documents and Information (Sept. 3, 2020)].


        67.     The Advantage Parties responded, objecting on numerous bases, including that

the requests were premature, protected by privilege, and constituted expert testimony. Id.


        68.     The Advantage Parties never produced any documents responsive to Requests 8,

105, and 130.               Redacted Pursuant to Stipulated Order




                                            20
Case 1:22-cv-03278-RC-ZMF   Document 1   Filed 10/26/22   Page 21 of 36
    Case 1:22-cv-03278-RC-ZMF              Document 1       Filed 10/26/22     Page 22 of 36




       73.        At the September 8, 2021 hearing on this issue, the Advantage Parties’ counsel

affirmatively represented to the Arbitrator that there were no notes of witness interviews. Ex. 30

at 1; see also Ex. 37 at 8 [Correspondence from M. Strub (Aug. 20, 2021)] (“The Advantage Parties

are not aware of any notes of those conversations, and the Take 5 Parties’ counsel is free to ask

Mr. Wei about those conversations when they take his deposition.”)].


       74.                      Redacted Pursuant to Stipulated Order


                                                            Ex. 30 at 5-6 (citing Wei Depo. Tr. at

35:16-36:15).


       75.        As a result, on October 1, 2021, the Take 5 Parties moved to compel the Advantage

Parties to produce the notes of the interviews for a second time. Id.


       76.



               Ex. 38 at 3 [Order Ruling on Take 5’s Motion to Produce Notes of Witness Interviews
         Red




(Oct. 8, 2021)].


       77.        The Advantage Parties made a production on October 25, 2021, which did not

contain contemporaneous notes of the 2019 FTI interviews. Ex. 39 [Take 5’s Motion to Remedy

Advantage’s Obstreperous Refusal to Comply with Orders (Dec. 15, 2021)]. In response to a

request by the Take 5 Parties to produce the contemporaneous interview notes, the Advantage

Parties responded “[               Redacted Pursuant to Stipulated Order
                                          . The additional information you are seeking is completely




                                             22
     Case 1:22-cv-03278-RC-ZMF           Document 1      Filed 10/26/22     Page 23 of 36




irrelevant, and the demand that we turn it over is harassment.” Id. at 13 (Correspondence from M.

Strub (Nov. 12, 2021)).


        78.    On December 15, 2021, the Take 5 Parties moved for third time to compel the

production of the contemporaneous notes. Id. The Take 5 Parties argued that the Advantage

Parties conduct was “part of a documented pattern of evasiveness while professing earnestness.”

Id. at 5.


        79.    The Advantage Parties responded that they had followed the Arbitrator’s October

8, 2021 order. Ex. 40 at 2 [Advantage Parties’ Response to Take 5 Parties’ Discovery Motions

(Jan. 10, 2022)] (“The Advantage Parties did this”).


        80.    On February 21, 2022, after the hearing had already commenced, the Arbitrator

entered an order, acknowledging that the notes existed and had not been produced, and ordering

for the third time that the Advantage Parties produce the contemporaneous notes. Ex. 41 [Order

Relating to Notes of Interviews by FTI and L&W (Feb. 21, 2022)] (“Advantage implicitly

acknowledges that, at least in some instances, contemporaneous notes of interviews were taken

and not produced.”).


        81.                  Redacted Pursuant to Stipulated Order




                               Ex. 35.


                                           23
Case 1:22-cv-03278-RC-ZMF   Document 1   Filed 10/26/22   Page 24 of 36
Case 1:22-cv-03278-RC-ZMF   Document 1   Filed 10/26/22   Page 25 of 36
    Case 1:22-cv-03278-RC-ZMF              Document 1       Filed 10/26/22      Page 26 of 36




          86.   In September 2021, the Take 5 Parties’ counsel sought Google Analytics data in

connection with the review of the expert reports of David Lasater and Michael Wei, in advance of

their expert depositions. Ex. 43 at 12-14 [The Take 5 Parties’ Memorandum of Law in Support of

Their Motion for an Adverse Inference and Sanctions for Spoliation of Evidence Against the

Advantage Parties (Nov. 24, 2021)].


          87.   Shortly thereafter, the Take 5 Parties became aware that the Advantage Parties had

not preserved access to the Google Analytics data pursuant to their obligations under Delaware

and federal law, even though this data had been made available to the Advantage Parties’ experts

and counsel during the course of the Arbitration. Id.


          88.   As set forth in the Take 5 Parties’ expert rebuttal report, in order to determine “how

[] clicks are generated” (i.e. where they came from and whether they were generated by real users)

one must first identify the source of the clicks, which include analyzing traffic data pertaining to

the source of the click. Ex. 44 at ¶ 49 [Rebuttal Expert Report of Jessie Stricchiola (Oct. 6, 2021)]

(“An analysis of click validity and/or traffic quality would also include analyzing click and traffic

data pertaining to the source of the click (such as server log and Google Analytics data) for client

tracking URLs.”); see also Ex. 45 [Hearing Ex. T-127, Declaration of Jessie Stricchiola (Dec. 15,

2021)].


          89.   On November 24, 2021, the Take 5 Parties moved for an adverse inference and

sanctions, arguing that the Google Analytics data was relevant and material to the underlying

dispute as well the expert reports, and as a result the Advantage Parties had an obligation to

preserve it. Ex. 43 The Take 5 Parties further argued that the Advantage Parties were aware of

the importance of the Google Analytics data prior to the commencement of the Arbitration as it


                                             26
    Case 1:22-cv-03278-RC-ZMF             Document 1        Filed 10/26/22      Page 27 of 36




was specifically referenced and attached to the Advantage Parties Notice of Claim and Notice of

Dispute dated August 20, 2019. Id. at 6-7, 21; see also Ex. 8.


       90.     The Advantage Parties responded to the Take 5 Parties’ motion for sanctions, but

the Arbitrator reserved ruling until after the hearing. Ex. 40 at 2; Ex. 19 at 2 (“I reserve ruling on

all of these motions/objections with the following caveat. Evidence that was the subject of a proper

request for discovery, and should have and could have been produced in a timely manner that

would have not unduly prejudiced another party, will not be considered, absent a showing of

exceptional circumstances.”).


       91.     In the Interim Award, the Arbitrator denied the Take 5 Parties’ motion finding

(without significant analysis or explanation but relying exclusively on two of the Advantage

witnesses whose testimony had been procured through monetary inducement) that the Google

Analytics data did not contain information that would materially impact the issues in the case and

declined to impose sanctions. Ex. 1 at 4-5.

                                           Third-Parties

       92.     On November 25, 2020, the Take 5 Parties sought the issuance of summonses to

several former Take 5 employees. The Arbitrator determined that Take 5 was permitted to contact

these former employees informally and request information.           However, both parties to the

Arbitration had significant problems with getting third parties to comply with discovery absent

court subpoenas due to a circuit split concerning the enforceability of arbitration subpoenas, as

well as the ongoing criminal investigation. The Arbitrator acknowledged this issue numerous

times, including during the course of the hearing. Ex. 46 at 1 [December 15, 2020 Discovery

Order (Dec. 15, 2020)]. (“Take 5 has stated on several occasions . . . that the former employees

refuse to cooperate.”).


                                              27
     Case 1:22-cv-03278-RC-ZMF            Document 1        Filed 10/26/22      Page 28 of 36




        93.     Most of Take 5’s former employees refused to testify given the ongoing criminal

investigation. The Arbitrator also acknowledged this citing it as one of three grounds in denying

the parties’ motion for summary judgment. Ex. 19 at 1 (“[S]everal fact witnesses have refused to

testify, asserting the Fifth Amendment”).


        94.     However, some former employees were willing to testify on behalf of the

Advantage Parties, despite the ongoing criminal investigation, because those witnesses were paid

either directly or indirectly by the Advantage Parties.


        95.     Michael Boy, a former Senior Director of the Take 5 fulfillment department,

testified at his deposition



                                                                            Ex. 47 at 9:16-15:9 [Boy
                                                                         Reda




Depo. Tr. (May 18, 2021)].            Redacted Pursuant to Stipulated Order


                      Id. at 15:23-16:12, 18:2-24.


        96.     Boy testified to the same at the hearing. Ex. 53 at 1650:22-1657:7 [Hearing Tr.

Vol. VI (Day 6) (Boy Cross Examination)].


        97.     Eva Hodgens, a former Senior Director of the Take 5 fulfillment department,

testified on behalf of the Advantage Parties and stated for the first time during the hearing that the

Advantage Parties were paying her counsel’s fees. Ex. 54 at 2011:6-2012:3 [Hearing Tr. Vol. VII

(Day 7) (Hodgens Direct Examination)].




                                             28
    Case 1:22-cv-03278-RC-ZMF            Document 1       Filed 10/26/22      Page 29 of 36




       98.     On cross examination, Ms. Hodgens testified that she was not familiar with the

particulars of the arrangement with the Advantage Parties and could not recall the amount of those

fees despite having received copies of the invoices. Ex. 55 at 2113:4-19, 2116:17-2117:15

[Hearing Tr. Vol. VIII (Day 8) (Hodgens Cross Examination)]. She further testified that she did

not “know specifically” whether the bills since 2019 had “exceeded $20,000.” Id. at 2117:16-

2118:12.


       99.     After the Interim Award was issued, it was revealed for the first time that
                                                                                             Redacted Pursuant to S




                                                                                       Ex. 69 at 8

[Advantage Parties’ Submission on Costs and Interest (Aug. 19, 2022)].


       100.    Peter Ward, the founder of a software development company that provided services

to Take 5, also testified at the hearing that the Advantage Parties were paying his legal expenses,

despite having never been an employee of Advantage, but he was not aware of how long that had

been taking place and did not know or recall the details of the arrangement. Ex. 55 at 2258:24-

2260:21 (Ward Cross Examination).

       101.    After the Interim Award was issued, it was revealed for the first time that
                                                                                             Redacted Pursuant to S




                                                                                 Ex. 69 at 8.

                                          The Hearing

       102.    The evidentiary hearing proceeded and was conducted virtually over the course of

sixteen days on January 25, 26, 27, 28, 31, February 1, 2, 3, 4, and May 2, 3, 4, 5, 6, June 5 and

July 5, 2022. Exs. 48-63 [Hearing Transcripts Volumes I-XVI]; see also Ex. 1 at 3.


       103.    Though the hearing was conducted virtually, it was deemed to take place in

Washington, DC. Ex. 64 at ¶ 1 [Stipulated Order Governing Protocol for Remote Evidentiary



                                           29
    Case 1:22-cv-03278-RC-ZMF             Document 1       Filed 10/26/22     Page 30 of 36




Hearing (Jan. 20, 2022)] (“Pursuant to ¶ 8 of the Parties’ Joint Submission to the AAA on March

23, 2020, the evidentiary hearing shall be deemed to take place in Washington, DC”); see also Ex.

65 at 1 [Order Ruling on Admissibility of Excerpts from Certain Depositions (Feb. 11, 2022)]

(“The situs of this proceeding is the District of Columbia”).


       104.    The Advantage Parties presented their case over the course of ten days, calling a

total of eighteen witnesses: eleven fact witnesses, one combination fact/expert witness, two expert

witnesses, and the designated deposition testimony of four fact witnesses. Ex. 1 at 6-24; see also

Exs. 48-57.


       105.    On Day 10 of the hearing, after the Advantage Parties’ rested their case, the Take

5 Parties moved for a limited directed verdict arguing that no evidence had been presented

concerning RJV, no evidence had been presented demonstrating Radetich and Gluck had personal

knowledge of any of the fraud allegations, and the evidence presented was insufficient with respect

to the RICO claims against all of the Take 5 Parties. Ex. 1 at 24; Ex. 57 at 2709:09-2713:2.


       106.    Counsel for the Take 5 Parties’ specifically argued:

       [T]here is no evidence that Richard Gluck or Alex Radetich had personal
       knowledge of any of the allegations of – that have been alleged here, any of the
       fraud allegations. The best they have, Your Honor, the best, was after Eva Hodgens
       was done on her direct examination, we took a break. Mr. Strub came back and
       asked Eva Hodgens a few more questions, and all she said was that Alex told me
       the problems would be remedied after the purchase of Advantage. That’s it. There’s
       literally no evidence in front of you, Your Honor, that says that Alex Radetich or
       Richard Gluck, either of them, had personal knowledge of any of the fulfillment
       issues, of the tracking issues, et cetera.

Ex. 57 at 2709:16-25, 2710:17-2711:13.

       107.    The Arbitrator declined to rule on the motion and took it under advisement. Ex. 1

at 24; Ex. 57 at 2709:09-2713:2.




                                            30
    Case 1:22-cv-03278-RC-ZMF              Document 1       Filed 10/26/22      Page 31 of 36




       108.      The Take 5 Parties presented twelve witnesses over the course of the remaining five

days of the hearing: six fact witnesses, four expert witnesses, and video depositions of two adverse

witnesses. Ex. 1 at 24-31; Exs. 57-63.


       109.      Radetich and Gluck did not testify at the hearing because they were forced to invoke

their Fifth Amendment rights as a result of the ongoing criminal investigation at their respective

depositions.


       110.      The Parties filed post-hearing briefs on June 29, 2022. Exs. 66-68 [Written

Summation of Petruss Media Group, LLC f/k/a Take 5 Media Group, LLC, Richard Gluck and RJV

Marketing Corp. (Jun. 29, 2022); Post Hearing Memorandum of Law on Behalf of Alex Radetich

(Jun. 29, 2022); The Advantage Parties’ Post-Hearing Brief (Jun. 29, 2022)]


       111.      Oral closing arguments were presented on July 5, 2022. Ex. 63 [Hearing Tr. Vol.

XVI (Day 16)].

                                           Interim Award

       112.      On August 4, 2022, the Arbitrator issued an Interim Award finding that Take 5,

Gluck, and Radetich committed civil fraud, the Take 5 Parties breached the APA, and denying the

Advantage Parties RICO claim. The Arbitrator denied the Take 5 Parties claims of breach of

contract and defamation. Ex. 1.


       113.      The Interim Award awarded the Advantage Parties a total of $48,325,822.29 in

damages, including: $43,633,333.34 reflecting the purchase price of Take 5 versus its “actual

value”; $788,954.00 for the amounts paid to Ernst & Young, Jones Day, and others for the costs

of the due diligence conducted on Take 5 prior to acquisition; $3,246,203.95 for the amounts paid

to FTI and Latham & Watkins in connection with the 2019 investigation into Take 5’s operations;


                                             31
    Case 1:22-cv-03278-RC-ZMF             Document 1        Filed 10/26/22      Page 32 of 36




and $657,331.00 for the costs of termination of leases in connection with the shutdown of the Take

5 business unit. Id. at 41-43.

                                 Final Award and Modification

       114.    On August 19, 2022, the Advantage Parties filed a letter requesting reimbursement

of litigation expenses and interest pursuant to the Section 10.11(b) of the APA, seeking

$37,765,382.77 in attorneys’ fees, expert fees’, costs, and interest. Ex. 69 at 8 [Advantage Parties’

Submission on Costs and Interest (Aug. 19, 2022)].


       115.    On August 29, 2022, the Advantage Parties provided an additional letter on

litigation expenses attaching supplemental authority. Ex. 70 [Advantage Parties’ Supplemental

Submission on Costs and Interest (Aug. 29, 2022)]


       116.    On September 16, 2022, the Take 5 Parties responded arguing that the Advantage

Parties had failed to demonstrate their entitlement to the various categories of costs and interest.

Ex. 71 [Take 5 Parties’ Submission on Costs and Interest (Sept. 16, 2022)].


       117.    On September 20, 2022, the AAA sent the Parties a letter declaring the action

closed as of September 19, 2022 and stating that “any direct exchange with the Arbitrator is

terminated” and “[a]ll communications shall be directed to the AAA.”                 Ex. 72 [AAA

Correspondence (Sept. 20, 2022)].


       118.    Later the same day, counsel for the Advantage Parties sent correspondence directly

to the Arbitrator by email improperly responding to the Take 5 Parties’ Reply Submission on Costs

and Interest. Ex. 73 [Correspondence from M. Strub attaching Advantage Parties’ Response to

the Take 5 Parties’ Reply Submission on Costs and Interest (Sept. 20, 2022)].




                                            32
Case 1:22-cv-03278-RC-ZMF   Document 1   Filed 10/26/22   Page 33 of 36
    Case 1:22-cv-03278-RC-ZMF            Document 1        Filed 10/26/22     Page 34 of 36




       123.    Later that same day, counsel for the Advantage Parties (again improperly) sent

email correspondence directly to the Arbitrator requesting the Arbitrator enter a corrected Final

Award due to a typographical issue with the final damages number provided at paragraph 1

reflecting an award of $43,633,333.34 rather than $48,325,822.29. Ex. 76 [Correspondence from

M. Strub (Oct. 4, 2022)].


       124.    AAA Director of ADR Services, Matthew Conger, sent correspondence to the

parties acknowledging the Advantage Parties’ improper email correspondence as a request under

AAA Commercial Rule R-50 for modification of the Final Award and invited the Take 5 Parties

to provide a substantive response in writing by October 14, 2022. Ex. 77 [Correspondence from

M. Conger (Oct. 5, 2022)].


       125.    The Take 5 Parties responded to the request on October 14, 2022, agreeing to the

Advantage Parties proposed modification, requesting an additional clarification of the Final

Award, and objecting to the Advantage Parties continued disregard of AAA procedure. Ex. 78

[Take 5 Parties’ Response to Request for AAA Commercial Rule R-50 Modification of Final

Award (Oct. 14, 2022)].


       126.    On October 20, 2022, the Advantage Parties replied that they had no objection to

the Take 5 Parties’ request for additional clarification of the Final Award. Ex. 79

[Correspondence from M. Strub (Oct. 20, 2022)].


       127.    Later that day, the Arbitrator issued the Modified Final Award, modifying the

damages number reflected in paragraph 1 as requested by the Advantage Parties. The AAA also

provided the clarification requested by the Take 5 Parties. Ex. 3 at 10.




                                            34
    Case 1:22-cv-03278-RC-ZMF             Document 1       Filed 10/26/22      Page 35 of 36




                                  GROUNDS FOR VACATUR

       128.    As described in greater detail in Petitioners’ Motion to Vacate or Set Aside the

Arbitration Awards and accompanying Memorandum of Points of Law and Authorities, the

Awards should be vacated pursuant to Section 10 of the Federal Arbitration Act and under common

law because the Arbitrator is guilty of misconduct, exceeded his powers or imperfectly executed

them, and manifestly disregarded the law. Additionally, the Awards should be vacated because

they were procured through corruption, fraud, or undue means.


       129.    Pursuant to Section 10(a)(3) of the Federal Arbitration Act, the Arbitrator is guilty

of misconduct in refusing to postpone the hearing or grant the Take 5 Parties’ motion for a limited

emergency stay in light of the parallel criminal investigation of Alexander Radetich, Richard

Gluck, and other former Take 5 former employees and individuals resulting in substantial

prejudice to the Take 5 Parties such that they were denied a fair hearing.


       130.    Pursuant to Section 10(a)(3) of the Federal Arbitration Act, the Arbitrator is guilty

of misconduct in refusing to hear evidence pertinent and material to the controversy with respect

to the Google Analytics evidence spoliated or concealed by the Advantage Parties, resulting in

substantial prejudice to the Take 5 Parties such that they were denied a fair hearing.


       131.    Pursuant to Section 10(a)(4) of the Federal Arbitration Act, the Arbitrator exceeded

his powers or imperfectly executed them in entering the Awards against RJV Marketing Corp. and

by awarding certain costs as a part of the damages award because the record contains no support

for the arbitrator’s determinations.


       132.    Pursuant to Section 10(a)(1) of the Federal Arbitration Act, the Award was

procured by corruption, fraud, or undue means because the Advantage Parties used undue means



                                            35
    Case 1:22-cv-03278-RC-ZMF              Document 1        Filed 10/26/22    Page 36 of 36




to procure witness testimony by directly or indirectly paying factual witnesses significant sums in

order to induce such witnesses to testify and then withholding such information (in whole or in

material part) from the Take 5 Parties and the Arbitrator.


         133.    The award was issued in manifest disregard of the law with respect to the award

against RJV Marketing, the failure to invoke an adverse inference or sanction the Advantage

Parties for their concealment or spoliation of evidence, deeming witness testimony credible despite

significant payments, awarding certain costs as damages, and awarding prejudgment interest.


         WHEREFORE, Petitioners, the Take 5 Parties, respectfully request that the Court enter an

Order:

         (i)     vacating the Interim Award and the Modified Final Award based thereon; and

         (ii)    vacating the Modified Final Award (separately and independently of the Interim

Award) should the Court decline to vacate the Interim Award;

         (iii)   awarding such other and further relief as the Court deems just and proper.


Dated: October 26, 2022                            Respectfully submitted,


                                                     /s/ Lisa M. Richman
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                                                   Gluck, and Alexander Radetich



                                             36
